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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

  Civil Action No.: 21-cv-1035-PAB-KLM

  KAREN GARNER,

  Plaintiff,

  v.

  CITY OF LOVELAND, a Colorado municipality
  AUSTIN HOPP, Loveland Police Officer, in his individual capacity,
  DARIA JALALI, Loveland Police Officer, in her individual capacity,
  SERGEANT PHILIP METZLER, Loveland Police Officer, in his individual capacity,
  TYLER BLACKETT, Loveland Community Service Officer, in his individual capacity, and
  SERGEANT ANTOLINA HILL, Loveland Police Officer, in her individual capacity,

  Defendants.

        STIPULATED MOTION TO DISMISS DEFENDANTS AUSTIN HOPP, DARIA
       JALALI, SERGEANT PHILIP METZLER, TYLER BLACKETT AND SERGEANT
                                ANTOLINA HILL

          Plaintiff and Defendants, by and through their respective undersigned counsel, hereby

  stipulate and agree to the following, pursuant to Fed. R. Civ. P. 41(a)(2):

          1.     Plaintiff and the City of Loveland, Colorado have reached a resolution of the case.

          2.     Plaintiff stipulates and agrees to the dismissal of all remaining claims for relief

  against Defendants Austin Hopp, Daria Jalali, Sergeant Philip Metzler, Tyler Blackett and

  Sergeant Antolina Hill, with prejudice.

          3.     The Court may enter an Order of Dismissal of all claims asserted against

  Defendants Austin Hopp, Daria Jalali, Sergeant Philip Metzler, Tyler Blackett and Sergeant

  Antolina Hill, with prejudice, without further action from the parties.




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         4.         Plaintiff and Defendants Austin Hopp, Daria Jalali, Sergeant Philip Metzler, Tyler

  Blackett and Sergeant Antolina Hill agree that each party will be responsible for their own attorney

  fees and costs.

         WHEREFORE, the parties respectfully request that the Court enter an Order dismissing all

  claims asserted by the Plaintiff against Defendants Austin Hopp, Daria Jalali, Sergeant Philip

  Metzler, Tyler Blackett and Sergeant Antolina Hill, with prejudice, leaving the City of Loveland,

  Colorado as the sole Defendant in this matter with each party to be responsible for their own

  attorneys’ fees and costs.

  Dated this 14th day of September 2021.

   /s/ Sarah Schielke                                   /s/ Eric M. Ziporin
   Sarah Schielke                                       Eric M. Ziporin
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                                                        LOVELAND

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   s/ David J. Goldfarb                                /s/ Peter H. Doherty
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                                   CERTIFICATE OF SERVICE

          I hereby certify that on the 14th day of September 2021, I electronically filed the foregoing
  with the Clerk of Court using the CM/ECF system, which will send notification of such filing to
  the following e-mail addresses:

  Sarah Jay Schielke, Esq. (sarah@lifeandlibertylaw.com)
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  and I hereby certify that I have mailed or served the document or paper to the following non-
  CM/ECF participants in the manner (mail, hand delivery, etc.) indicated by the non-participant’s
  name: N/A
                                                        s/ Elizabeth Jackson
                                                        Elizabeth Jackson, Paralegal
                                                        Kissinger & Fellman, P.C.




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